Case 4:19-cv-01418 Document 17-5 Filed on 02/23/20 in TXSD Page 1 of 33




                        EXHIBIT A




                         EXHIBIT A
Case 4:19-cv-01418 Document 17-5 Filed on 02/23/20 in TXSD Page 2 of 33
Case 4:19-cv-01418 Document 17-5 Filed on 02/23/20 in TXSD Page 3 of 33
Case 4:19-cv-01418 Document 17-5 Filed on 02/23/20 in TXSD Page 4 of 33
Case 4:19-cv-01418 Document 17-5 Filed on 02/23/20 in TXSD Page 5 of 33
Case 4:19-cv-01418 Document 17-5 Filed on 02/23/20 in TXSD Page 6 of 33
Case 4:19-cv-01418 Document 17-5 Filed on 02/23/20 in TXSD Page 7 of 33
Case 4:19-cv-01418 Document 17-5 Filed on 02/23/20 in TXSD Page 8 of 33
Case 4:19-cv-01418 Document 17-5 Filed on 02/23/20 in TXSD Page 9 of 33
Case 4:19-cv-01418 Document 17-5 Filed on 02/23/20 in TXSD Page 10 of 33
Case 4:19-cv-01418 Document 17-5 Filed on 02/23/20 in TXSD Page 11 of 33
Case 4:19-cv-01418 Document 17-5 Filed on 02/23/20 in TXSD Page 12 of 33
Case 4:19-cv-01418 Document 17-5 Filed on 02/23/20 in TXSD Page 13 of 33
Case 4:19-cv-01418 Document 17-5 Filed on 02/23/20 in TXSD Page 14 of 33
Case 4:19-cv-01418 Document 17-5 Filed on 02/23/20 in TXSD Page 15 of 33
Case 4:19-cv-01418 Document 17-5 Filed on 02/23/20 in TXSD Page 16 of 33
Case 4:19-cv-01418 Document 17-5 Filed on 02/23/20 in TXSD Page 17 of 33
Case 4:19-cv-01418 Document 17-5 Filed on 02/23/20 in TXSD Page 18 of 33
Case 4:19-cv-01418 Document 17-5 Filed on 02/23/20 in TXSD Page 19 of 33
Case 4:19-cv-01418 Document 17-5 Filed on 02/23/20 in TXSD Page 20 of 33
Case 4:19-cv-01418 Document 17-5 Filed on 02/23/20 in TXSD Page 21 of 33
Case 4:19-cv-01418 Document 17-5 Filed on 02/23/20 in TXSD Page 22 of 33
Case 4:19-cv-01418 Document 17-5 Filed on 02/23/20 in TXSD Page 23 of 33
Case 4:19-cv-01418 Document 17-5 Filed on 02/23/20 in TXSD Page 24 of 33
Case 4:19-cv-01418 Document 17-5 Filed on 02/23/20 in TXSD Page 25 of 33
Case 4:19-cv-01418 Document 17-5 Filed on 02/23/20 in TXSD Page 26 of 33
Case 4:19-cv-01418 Document 17-5 Filed on 02/23/20 in TXSD Page 27 of 33
Case 4:19-cv-01418 Document 17-5 Filed on 02/23/20 in TXSD Page 28 of 33
Case 4:19-cv-01418 Document 17-5 Filed on 02/23/20 in TXSD Page 29 of 33
Case 4:19-cv-01418 Document 17-5 Filed on 02/23/20 in TXSD Page 30 of 33
Case 4:19-cv-01418 Document 17-5 Filed on 02/23/20 in TXSD Page 31 of 33
Case 4:19-cv-01418 Document 17-5 Filed on 02/23/20 in TXSD Page 32 of 33
Case 4:19-cv-01418 Document 17-5 Filed on 02/23/20 in TXSD Page 33 of 33
